Case 15-57688-pmb     Doc 35    Filed 10/01/15 Entered 10/01/15 15:23:29      Desc Main
                               Document      Page 1 of 23


                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:                                   )        CHAPTER 13
WILLIAM N. MILLER,                       )
      and                                )        CASE NO: 15-57688-PMB
SHIRLEY J. MILLER,                       )
      Debtors.                           )

                    AMENDMENT TO CHAPTER 13 SCHEDULES

      COME NOW, the Debtors herein, and amend their Chapter 13 Schedules as follows:

                                             1.

   SCHEDULE D: Schedule D is amended to include the following creditors:

                                 Citifinancial Servicing Llc
                                        P.O. Box 6043
                               Sioux Falls, Sd 57117-6043

                                 Juno Tax Receiables, Llc
                                 1713 H’way 35 Suite 101
                                  Middletown, N.J. 07748

                                  Juno Tax Receiables, Llc
                                  C/o Business Filing, Inc
                                 1201 Peachtree Street, Nw
                                  Atlanta, Ga 30361-3503

                                 Juno Tax Receivables, Llc
                                C/o Clark Caskey, Llc Agent
                                17 Executive Park Dr #480
                                Atlanta, Ga 30329-2222

                                    One Main Financial
                                     5015 Floyd Road
                                Mableton, Ga 30126-1673

                                     World Finance
                                  80 Powers Ferry Rd
                                Marietta, GA 30067-7582
Case 15-57688-pmb     Doc 35    Filed 10/01/15 Entered 10/01/15 15:23:29   Desc Main
                               Document      Page 2 of 23


                                            2.

   SCHEDULE E: Schedule E is amended to include the following creditors:

                               Fulton County Tax Commissioner
                                         141 Pryor St
                                    Atlanta, Ga 30303-3446

                                            3.

   SCHEDULE F: Schedule F is amended to include the following creditors:

                                 (p)internal Revenue Service
                               Centralized Insolvency Operations
                                         Po Box 7346
                                 Philadelphia Pa 19101-7346

                                        Capital One
                                      P.O. Box 85619
                                  Richmond, Va 23285-5619

                                            Cavalry
                                         P.O. Box 520
                                      Valhalla, Ny, 10595

                                      Cavalry Spv I, Llc
                                   500 Summit Lake Drive
                                            Ste 400
                                   Valhalla, Ny 10595-1340

                                        Citi Financial
                                     2099 Pleasant Hill Rd
                                    Duluth, Ga 30096-4627

                                     Emily Shingler, Esq
                                     Asst. U.S. Attorney
                                   600 Richard Russel Bldg
                                       75 Spring Street
                                   Atlanta, Ga 30303-3315

                                      Enhance Recovery
                                       P.O. Box 1259
                                     Oak, Pa 19456-1259
Case 15-57688-pmb   Doc 35    Filed 10/01/15 Entered 10/01/15 15:23:29   Desc Main
                             Document      Page 3 of 23


                             First Family Financial Servicesga
                              Ct Corp System 651 Lee Street
                                    1201 Peachtree Street
                                  Atlanta, Ga 30361-6329

                                    Freeman Finance
                                     651 Lee Street
                                 Atlanta, Ga 30310-1937

                                     Freeman Finance
                                    900 Thornton Road
                              Lithia Springs, Ga 30122-2641

                               Freeman Finance Company
                                    651 Lee St. Sw
                                Atlanta, Ga 30310-1937

                               Freeman Finance Company
                                    900 Thornton Road
                                          Suite E
                              Lithia Springs, Ga 30122-2641

                             Fulton County Tax Commissioner
                                       141 Pryor St
                                  Atlanta, Ga 30303-3446

                               Georgia Department Of Rev
                             C/o Commissioner Mac Ginnitie
                                1800 Century Center Blvd
                                   Atlanta, Ga 30345

                             Georgia Department Of Revenue
                                    Bankruptcy Unit
                                    P.O. Box 161108
                                   Atlanta, Ga 30321

                                 Internal Revenue Service
                                         Box 7346
                               Philadelphia, Pa 19101-7346

                                 Internal Revenue Service
                                     Atlanta, Ga 39901
Case 15-57688-pmb   Doc 35    Filed 10/01/15 Entered 10/01/15 15:23:29   Desc Main
                             Document      Page 4 of 23


                                         K&s Inc
                              C/o Sonia B. Watson Reg Agent
                                   114 Carpenter Drive
                                 Midway, Ga 31320-7315

                                  Leading Edge Recovery
                                 5440 N. Cumberland Ave
                                        Suite 300
                                  Chicago, Il 60656-1486

                                   Marvin J. Harkin, Esq
                             Office Of Fulton County Attorney
                               141 Pryor Street, Suite 4038
                                  Atlanta, Ga 30303-3468

                                    Midland Funding,
                               Assignee 1st North Amean Ba
                                C/o Corpration Service Co
                               40 Technology Parkway #300
                                 Norcross, Ga 30092-2924

                             Portfolio Recovery Associates Llc
                              5015 Floyd Road Po Box 41067
                                  Norfolk Va 23541-1067

                             Portfolio Recovery Associates Llc
                                        Pob 41067
                                     Norfolk Va 23541

                                  Premier Bankcard, Llc
                             C O Jefferson Capital Systems Llc
                                       Po Box 7999
                               Saint Cloud Mn 56302-7999

                               Professional Service Bureau
                             11110 Industrial Circle Nw, Ste B
                                       Po Box 331
                                   Elk River, Mn 55330

                         Recovery Management Systems Corp
                           25 S.E. 2nd Avenue, Suite 1120
                               Miami, Fl 33131-1605
Case 15-57688-pmb         Doc 35    Filed 10/01/15 Entered 10/01/15 15:23:29    Desc Main
                                   Document      Page 5 of 23


                                        Synchrony Bank
                               C/o Recovery Management Systems
                                       25 Se 2nd Avenue
                                          Suite 1120
                                     Miami, Fl 33131-1605

                                          U. S. Attorney
                                    600 Richard B. Russell Bldg
                                       75 Spring Street, Sw
                                      Atlanta Ga 30303-3315

                                      Velocity Investments, Llc
                                     C/o Corprational Service Co
                                    40 Technology Parkway #300
                                      Norcross, Ga 30092-2924

                                     World Finance Corporation
                                      80 Powers Ferry Road
                                            Suite A-08
                                     Marietta, Ga 30067-7582

       Attached as an addendum hereto and made a part of this amendment are the amended

Schedules D, F, and Summary of Schedules.

       WHEREFORE, Debtors pray that this amendment be accepted and their Chapter 13

plan be confirmed and administered as amended herein.

       This the 1st day of October, 2015           By:

                                                   ___/S/____________________
                                                   Michael R. Rethinger
                                                   Georgia Bar Number 301215
                                                   Attorney for Debtors
241 Mitchell Street, SW
Atlanta, GA 30303
770-922-0066
                                                                                                                                                           Case 15-57688-pmb                   Doc 35                                 Filed 10/01/15 Entered 10/01/15 15:23:29                                            Desc Main
                                                                                                                                                                                                                                     Document      Page 6 of 23
                                                                                                                                                    B6D (Official Form 6D) (12/07)

                                                                                                                                                             William N. Miller & Shirley J. Miller
                                                                                                                                                    In re _______________________________________________,                                                              Case No.15-57688-PMB
                                                                                                                                                                                                                                                                                 _________________________________
                                                                                                                                                                                   Debtor                                                                                                                             (If known)

                                                                                                                                                                       SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                               State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                                                                    by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                                                                    useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                                                                    such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                                                                List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                                                                    address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                                                                    §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                                                               If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                                                                    include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                                                                    husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                                                                    "Husband, Wife, Joint, or Community."
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                                                                                                                                                               If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                                                                    labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                                                                    one of these three columns.)
                                                                                                                                                               Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                                                                    labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                                                                    Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                                                                    the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                                                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                                                                                  AMOUNT
                                                                                                                                                                                                              HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                                                                                                                        DATE CLAIM WAS INCURRED,                                                     OF
                                                                                                                                                                                                   CODEBTOR




                                                                                                                                                                                                                                                                                                     DISPUTED
                                                                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                     CLAIM           UNSECURED
                                                                                                                                                              INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                       WITHOUT           PORTION,
                                                                                                                                                             AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                     DEDUCTING           IF ANY
                                                                                                                                                               (See Instructions Above.)                                                     SUBJECT TO LIEN                                                      VALUE OF
                                                                                                                                                                                                                                                                                                                COLLATERAL


                                                                                                                                                    ACCOUNT NO.                                                                      Lien: Mortgage                                                                                    43,016
                                                                                                                                                    CitiFinancial Servicing LLC                                                      Security: 2995 Dodson Drive,
                                                                                                                                                    P.O. Box 6043                                                                    East Point, Georgia
                                                                                                                                                                                                                                                                                                                     87,016
                                                                                                                                                    Sioux Falls, SD 57117-6043

                                                                                                                                                                                                                                      VALUE $                 44,000
                                                                                                                                                    ACCOUNT NO.                                                                      Lien: Property Taxes
                                                                                                                                                    Juno Tax Receiables, LLC                                                         Security: 2995 Dodson Drive
                                                                                                                                                    1713 H’way 35 Suite 101                                                                                                                                     Notice Only    Notice Only
                                                                                                                                                    Middletown, N.J. 07748

                                                                                                                                                                                                                                      VALUE $                 44,000
                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Juno Tax Receiables, LLC
                                                                                                                                                    c/o Business Filing, Inc                                                                                                                                    Notice Only    Notice Only
                                                                                                                                                    1201 Peachtree Street, NW
                                                                                                                                                    Atlanta, GA 30361-3503
                                                                                                                                                                                                                                      VALUE $                       0

                                                                                                                                                       1
                                                                                                                                                     _______continuation sheets attached                                                                               Subtotal     $                                87,016    $       43,016
                                                                                                                                                                                                                                                               (Total of this page)
                                                                                                                                                                                                                                                                           Total    $                                          $
                                                                                                                                                                                                                                                            (Use only on last page)
                                                                                                                                                                                                                                                                                                       (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                                                       Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                                                             Summary of Certain
                                                                                                                                                                                                                                                                                                                             Liabilities and Related
                                                                                                                                                                                                                                                                                                                             Data.)
                                                                                                                                                            Case 15-57688-pmb                    Doc 35                                 Filed 10/01/15 Entered 10/01/15 15:23:29                                                      Desc Main
                                                                                                                                                                                                                                       Document      Page 7 of 23
                                                                                                                                                    B6D (Official Form 6D) (12/07) – Cont.



                                                                                                                                                             William N. Miller & Shirley J. Miller
                                                                                                                                                    In re __________________________________________________,                                                                     15-57688-PMB
                                                                                                                                                                                                                                                                      Case No. _________________________________
                                                                                                                                                                                               Debtor                                                                                                                               (If known)



                                                                                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                                                                                             (Continuation Sheet)




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                                                        AMOUNT




                                                                                                                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                                                                                  ORCOMMUNITY




                                                                                                                                                                                                                                                                             CONTINGENT
                                                                                                                                                               CREDITOR’S NAME,                      CODEBTOR                             DATE CLAIM WAS INCURRED,                                                         OF




                                                                                                                                                                                                                                                                                                         DISPUTED
                                                                                                                                                                MAILING ADDRESS                                                              NATURE OF LIEN, AND                                                         CLAIM              UNSECURED
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                                                                                                                                                              INCLUDING ZIP CODE,                                                             DESCRIPTION AND                                                           WITHOUT              PORTION,
                                                                                                                                                             AND ACCOUNT NUMBER                                                              VALUE OF PROPERTY                                                         DEDUCTING              IF ANY
                                                                                                                                                               (See Instructions Above.)                                                       SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                                                                      COLLATERAL

                                                                                                                                                    ACCOUNT NO.                                                                        Lien: Property Taxes
                                                                                                                                                    Juno Tax Receivables, LLC                                                          Security: 2995 Dodson Drive,
                                                                                                                                                    c/o Clark Caskey, LLC Agent                                                        East Point, Georgia
                                                                                                                                                                                                                                                                                                                                 6,840                   0
                                                                                                                                                    17 Executive Park Dr #480
                                                                                                                                                    Atlanta, GA 30329-2222
                                                                                                                                                                                                                                       VALUE $                      44,000
                                                                                                                                                    ACCOUNT NO.                                                                        Lien: NPMSI                                                                                                  4,404
                                                                                                                                                    One Main Financial                                                                 Security: 2004 GMC Envoy
                                                                                                                                                    5015 Floyd Road                                                                                                                                                              8,604
                                                                                                                                                    Mableton, GA 30126-1673

                                                                                                                                                                                                                                       VALUE $                       4,200
                                                                                                                                                    ACCOUNT NO.                                                                        Lien: NPMSI                                                                                                14,660
                                                                                                                                                    World Finance                                                                      Security: 2005 Ford Taurus
                                                                                                                                                    80 Powers Ferry Rd                                                                                                                                                         16,855
                                                                                                                                                    Marietta, GA 30067-7582

                                                                                                                                                                                                                                       VALUE $                       2,195
                                                                                                                                                    ACCOUNT NO.




                                                                                                                                                                                                                                       VALUE $
                                                                                                                                                    ACCOUNT NO.




                                                                                                                                                                                                                                       VALUE $
                                                                                                                                                               1 of ___continuation
                                                                                                                                                    Sheet no. ___    1              sheets attached to                                                                  Subtotal (s)    $                                      32,299 $           19,064
                                                                                                                                                    Schedule of Creditors Holding Secured Claims                                                                (Total(s) of this page)
                                                                                                                                                                                                                                                                              Total(s) $                                      119,315 $           62,080
                                                                                                                                                                                                                                                               (Use only on last page)
                                                                                                                                                                                                                                                                                                                    (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                                                                    Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                                                                          Summary of Certain
                                                                                                                                                                                                                                                                                                                                          Liabilities and Related
                                                                                                                                                                                                                                                                                                                                          Data.)
                                                                                                                                                          Case 15-57688-pmb                    Doc 35        Filed 10/01/15 Entered 10/01/15 15:23:29                                 Desc Main
                                                                                                                                                                                                            Document      Page 8 of 23
                                                                                                                                                    B6E (Official Form 6E) (04/13)


                                                                                                                                                               William N. Miller & Shirley J. Miller
                                                                                                                                                       In re________________________________________________________________,
                                                                                                                                                                                                                                                                     15-57688-PMB
                                                                                                                                                                                                                                                      Case No.______________________________
                                                                                                                                                                               Debtor                                                                               (if known)

                                                                                                                                                            SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                             A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                                                                      unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                                                                      address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                                                                      property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                                                                      the type of priority.

                                                                                                                                                             The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                                                                      the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                                                                      "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                                                              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
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                                                                                                                                                      entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                                                                      both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                                                                      Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                                                                      in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                                                                      more than one of these three columns.)

                                                                                                                                                            Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                                                                      Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                                                                Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                                                                      amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                                                                      primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                                                               Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                                                                      amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                                                                      with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                                                                      Data.



                                                                                                                                                          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                                                                           Domestic Support Obligations

                                                                                                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                                                                    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                                                                    11 U.S.C. § 507(a)(1).


                                                                                                                                                           Extensions of credit in an involuntary case

                                                                                                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                                                                    appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                                                           Wages, salaries, and commissions

                                                                                                                                                             Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                                                                     independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                                                                     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                                                           Contributions to employee benefit plans

                                                                                                                                                                Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                                                                        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                                                             *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                                                            Case 15-57688-pmb                   Doc 35        Filed 10/01/15 Entered 10/01/15 15:23:29                               Desc Main
                                                                                                                                                                                                             Document      Page 9 of 23
                                                                                                                                                      B6E (Official Form 6E) (04/13) - Cont.

                                                                                                                                                                  William N. Miller & Shirley J. Miller
                                                                                                                                                          In re________________________________________________________________,                               15-57688-PMB
                                                                                                                                                                                                                                                      Case No.______________________________
                                                                                                                                                                                  Debtor                                                                            (if known)




                                                                                                                                                           Certain farmers and fishermen
                                                                                                                                                         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
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                                                                                                                                                           Deposits by individuals
                                                                                                                                                         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                                                                     that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                                                           Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                                                                         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                                                                           Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                                                                        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                                                                     Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                                                                     U.S.C. § 507 (a)(9).



                                                                                                                                                           Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                                                                    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                                                                    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                                                                           * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                                                                           adjustment.




                                                                                                                                                                                                               1
                                                                                                                                                                                                              ____ continuation sheets attached
                                                                                                                                                           Case 15-57688-pmb                     Doc 35                                 Filed 10/01/15 Entered 10/01/15 15:23:29                                                      Desc Main
                                                                                                                                                                                                                                       Document     Page 10 of 23
                                                                                                                                                    B6E (Official Form 6E) (04/13) - Cont.


                                                                                                                                                          In reWilliam  N. Miller & Shirley J. Miller
                                                                                                                                                               __________________________________________________,                                                                                         Case No.15-57688-PMB
                                                                                                                                                                                                                                                                                                                    _________________________________
                                                                                                                                                                                        Debtor                                                                                                                                 (If known)

                                                                                                                                                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                                                                             (Continuation Sheet)                                         Sec. 507(a)(8)

                                                                                                                                                                                                                                                                                                     Type of Priority for Claims Listed on This Sheet




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                  ORCOMMUNITY




                                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                                CREDITOR’S NAME,                                                         DATE CLAIM WAS                                                                                       AMOUNT

                                                                                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                                          DISPUTED
                                                                                                                                                                MAILING ADDRESS                                                           INCURRED AND                                                     AMOUNT            AMOUNT             NOT
                                                                                                                                                              INCLUDING ZIP CODE,                                                        CONSIDERATION                                                       OF            ENTITLED TO       ENTITLED
                                                                                                                                                             AND ACCOUNT NUMBER                                                             FOR CLAIM                                                       CLAIM           PRIORITY             TO
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                                                                                                                                                               (See instructions above..)                                                                                                                                                   PRIORITY, IF
                                                                                                                                                                                                                                                                                                                                                ANY

                                                                                                                                                    ACCOUNT NO.
                                                                                                                                                                                                                                        Consideration:
                                                                                                                                                    FULTON COUNTY TAX                                                                   Property Taxes
                                                                                                                                                    COMMISSIONER                                                                                                                                       Notice Only         Notice Only      Notice Only
                                                                                                                                                    141 PRYOR ST
                                                                                                                                                    ATLANTA, GA 30303-3446

                                                                                                                                                    ACCOUNT NO.




                                                                                                                                                    ACCOUNT NO.




                                                                                                                                                    ACCOUNT NO.




                                                                                                                                                               1 of ___continuation
                                                                                                                                                                     1                                                                                      Subtotal                                  $             0      $           0    $           0
                                                                                                                                                    Sheet no. ___                    sheets attached to Schedule of                                (Totals of this page)
                                                                                                                                                    Creditors Holding Priority Claims
                                                                                                                                                                                                                                                           Total                                      $             0
                                                                                                                                                                                                                  (Use only on last page of the completed
                                                                                                                                                                                                                  Schedule E.) Report also on the Summary
                                                                                                                                                                                                                  of Schedules)

                                                                                                                                                                                                                                                            Totals                                    $                    $           0     $          0
                                                                                                                                                                                                                  (Use only on last page of the completed
                                                                                                                                                                                                                  Schedule E. If applicable, report also on
                                                                                                                                                                                                                  the Statistical Summary of Certain
                                                                                                                                                                                                                  Liabilities and Related Data.)
                                                                                                                                                             Case 15-57688-pmb                       Doc 35                             Filed 10/01/15 Entered 10/01/15 15:23:29                                               Desc Main
                                                                                                                                                                                                                                       Document     Page 11 of 23
                                                                                                                                                    B6F (Official Form 6F) (12/07)

                                                                                                                                                             William N. Miller & Shirley J. Miller
                                                                                                                                                     In re __________________________________________,                                                                        15-57688-PMB
                                                                                                                                                                                                                                                                  Case No. _________________________________
                                                                                                                                                                                    Debtor                                                                                                                       (If known)

                                                                                                                                                          SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                 State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                                                                     against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                                                                     useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                                                                     of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                                                                     1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                                                                If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                                                                     appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                                                                     community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                                                               If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                                                                     "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
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                                                                                                                                                               Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                                                                     Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                                                                     Related Data.
                                                                                                                                                              Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND
                                                                                                                                                                                                         CODEBTOR




                                                                                                                                                                CREDITOR’S NAME,




                                                                                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                          AMOUNT
                                                                                                                                                                 MAILING ADDRESS                                                                                                                                                 OF
                                                                                                                                                               INCLUDING ZIP CODE,                                                         IF CLAIM IS SUBJECT TO SETOFF,
                                                                                                                                                                                                                                                      SO STATE.                                                                 CLAIM
                                                                                                                                                              AND ACCOUNT NUMBER
                                                                                                                                                                (See instructions above.)

                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    (p)INTERNAL REVENUE
                                                                                                                                                    SERVICE                                                                                                                                                                    Notice Only
                                                                                                                                                    CENTRALIZED INSOLVENCY
                                                                                                                                                    OPERATIONS
                                                                                                                                                    PO BOX 7346
                                                                                                                                                    PHILADELPHIA PA 19101-7346
                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Capital One
                                                                                                                                                    P.O. Box 85619                                                                                                                                                             Notice Only
                                                                                                                                                    Richmond, VA 23285-5619



                                                                                                                                                    ACCOUNT NO.
                                                                                                                                                    Cavalry
                                                                                                                                                    P.O. Box 520                                                                                                                                                               Notice Only
                                                                                                                                                    Valhalla, NY, 10595



                                                                                                                                                    ACCOUNT NO.
                                                                                                                                                    Cavalry SPV I, LLC
                                                                                                                                                    500 Summit Lake Drive                                                                                                                                                      Notice Only
                                                                                                                                                    Ste 400
                                                                                                                                                    Valhalla, NY 10595-1340


                                                                                                                                                          5
                                                                                                                                                        _______continuation sheets attached                                                                                       Subtotal                                 $                 0
                                                                                                                                                                                                                                                                        Total                                              $
                                                                                                                                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                     (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                                           Summary of Certain Liabilities and Related Data.)
                                                                                                                                                            Case 15-57688-pmb                   Doc 35                                 Filed 10/01/15 Entered 10/01/15 15:23:29                                                           Desc Main
                                                                                                                                                                                                                                      Document     Page 12 of 23
                                                                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                              William N. Miller & Shirley J. Miller
                                                                                                                                                      In re __________________________________________________,                                                                       15-57688-PMB
                                                                                                                                                                                                                                                                           Case No. _________________________________
                                                                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                    CODEBTOR
                                                                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND                                                                  AMOUNT




                                                                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                                                                MAILING ADDRESS
                                                                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
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                                                                                                                                                             AND ACCOUNT NUMBER
                                                                                                                                                               (See instructions above.)


                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Citi Financial
                                                                                                                                                    2099 Pleasant Hill Rd                                                                                                                                                                 Notice Only
                                                                                                                                                    Duluth, GA 30096-4627



                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Emily Shingler, Esq
                                                                                                                                                    Asst. U.S. Attorney                                                                                                                                                                   Notice Only
                                                                                                                                                    600 Richard Russel Bldg
                                                                                                                                                    75 Spring Street
                                                                                                                                                    Atlanta, GA 30303-3315

                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Enhance Recovery
                                                                                                                                                    P.O. Box 1259                                                                                                                                                                         Notice Only
                                                                                                                                                    Oak, PA 19456-1259



                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    First Family Financial ServicesGA
                                                                                                                                                    CT Corp System 651 Lee Street                                                                                                                                                         Notice Only
                                                                                                                                                    1201 Peachtree Street
                                                                                                                                                    Atlanta, GA 30361-6329


                                                                                                                                                     ACCOUNT NO.

                                                                                                                                                    Freeman Finance
                                                                                                                                                    651 Lee Street                                                                                                                                                                        Notice Only
                                                                                                                                                    Atlanta, GA 30310-1937



                                                                                                                                                               1 of _____continuation
                                                                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $                 0
                                                                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                            Case 15-57688-pmb                   Doc 35                                 Filed 10/01/15 Entered 10/01/15 15:23:29                                                           Desc Main
                                                                                                                                                                                                                                      Document     Page 13 of 23
                                                                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                              William N. Miller & Shirley J. Miller
                                                                                                                                                      In re __________________________________________________,                                                                       15-57688-PMB
                                                                                                                                                                                                                                                                           Case No. _________________________________
                                                                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                    CODEBTOR
                                                                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND                                                                  AMOUNT




                                                                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                                                                MAILING ADDRESS
                                                                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
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                                                                                                                                                             AND ACCOUNT NUMBER
                                                                                                                                                               (See instructions above.)


                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Freeman Finance
                                                                                                                                                    900 Thornton Road                                                                                                                                                                     Notice Only
                                                                                                                                                    Lithia Springs, GA 30122-2641



                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Freeman Finance Company
                                                                                                                                                    651 Lee St. Sw                                                                                                                                                                        Notice Only
                                                                                                                                                    Atlanta, GA 30310-1937



                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Freeman Finance Company
                                                                                                                                                    900 Thornton Road                                                                                                                                                                     Notice Only
                                                                                                                                                    Suite E
                                                                                                                                                    Lithia Springs, GA 30122-2641


                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Georgia Department of Rev
                                                                                                                                                    c/o Commissioner Mac Ginnitie                                                                                                                                                         Notice Only
                                                                                                                                                    1800 Century Center Blvd
                                                                                                                                                    Atlanta, GA 30345


                                                                                                                                                     ACCOUNT NO.

                                                                                                                                                    Georgia Department of Revenue
                                                                                                                                                    Bankruptcy Unit                                                                                                                                                                       Notice Only
                                                                                                                                                    P.O. Box 161108
                                                                                                                                                    Atlanta, GA 30321


                                                                                                                                                               2 of _____continuation
                                                                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $                 0
                                                                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                            Case 15-57688-pmb                   Doc 35                                 Filed 10/01/15 Entered 10/01/15 15:23:29                                                           Desc Main
                                                                                                                                                                                                                                      Document     Page 14 of 23
                                                                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                              William N. Miller & Shirley J. Miller
                                                                                                                                                      In re __________________________________________________,                                                                       15-57688-PMB
                                                                                                                                                                                                                                                                           Case No. _________________________________
                                                                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                    CODEBTOR
                                                                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND                                                                  AMOUNT




                                                                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                                                                MAILING ADDRESS
                                                                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
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                                                                                                                                                             AND ACCOUNT NUMBER
                                                                                                                                                               (See instructions above.)


                                                                                                                                                    ACCOUNT NO.                                                                        Consideration: Federal income taxes
                                                                                                                                                    Internal Revenue Service
                                                                                                                                                    Box 7346                                                                                                                                                                              Notice Only
                                                                                                                                                    Philadelphia, PA 19101-7346



                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Internal Revenue Service
                                                                                                                                                    Atlanta, GA 39901                                                                                                                                                                     Notice Only




                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    K&S Inc
                                                                                                                                                    c/o Sonia B. Watson Reg Agent                                                                                                                                                         Notice Only
                                                                                                                                                    114 Carpenter Drive
                                                                                                                                                    Midway, GA 31320-7315


                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Leading Edge Recovery
                                                                                                                                                    5440 N. Cumberland Ave                                                                                                                                                                Notice Only
                                                                                                                                                    Suite 300
                                                                                                                                                    Chicago, IL 60656-1486


                                                                                                                                                     ACCOUNT NO.

                                                                                                                                                    Marvin J. Harkin, Esq
                                                                                                                                                    Office of Fulton County Attorney                                                                                                                                                      Notice Only
                                                                                                                                                    141 Pryor Street, Suite 4038
                                                                                                                                                    Atlanta, GA 30303-3468


                                                                                                                                                               3 of _____continuation
                                                                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $                 0
                                                                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                            Case 15-57688-pmb                   Doc 35                                 Filed 10/01/15 Entered 10/01/15 15:23:29                                                           Desc Main
                                                                                                                                                                                                                                      Document     Page 15 of 23
                                                                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                              William N. Miller & Shirley J. Miller
                                                                                                                                                      In re __________________________________________________,                                                                       15-57688-PMB
                                                                                                                                                                                                                                                                           Case No. _________________________________
                                                                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                    CODEBTOR
                                                                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND                                                                  AMOUNT




                                                                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                                                                MAILING ADDRESS
                                                                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
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                                                                                                                                                             AND ACCOUNT NUMBER
                                                                                                                                                               (See instructions above.)


                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Midland Funding,
                                                                                                                                                    Assignee 1st North Amean Ba                                                                                                                                                           Notice Only
                                                                                                                                                    c/o Corpration Service Co
                                                                                                                                                    40 Technology Parkway #300
                                                                                                                                                    Norcross, GA 30092-2924
                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    PORTFOLIO RECOVERY
                                                                                                                                                    ASSOCIATES LLC                                                                                                                                                                        Notice Only
                                                                                                                                                    5015 Floyd Road PO BOX 41067
                                                                                                                                                    NORFOLK VA 23541-1067


                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Portfolio Recovery Associates LLC
                                                                                                                                                    POB 41067                                                                                                                                                                             Notice Only
                                                                                                                                                    Norfolk VA 23541



                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Premier Bankcard, Llc
                                                                                                                                                    c o Jefferson Capital Systems LLC                                                                                                                                                     Notice Only
                                                                                                                                                    Po Box 7999
                                                                                                                                                    Saint Cloud Mn 56302-7999


                                                                                                                                                     ACCOUNT NO.     4271                                                              Consideration: Disputed Collection
                                                                                                                                                    Professional Service Bureau                                                        Account
                                                                                                                                                    11110 Industrial Circle NW, Ste B                                                                                                                                     X                             0
                                                                                                                                                    PO Box 331
                                                                                                                                                    Elk River, MN 55330


                                                                                                                                                               4 of _____continuation
                                                                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $                 0
                                                                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                            Case 15-57688-pmb                   Doc 35                                 Filed 10/01/15 Entered 10/01/15 15:23:29                                                           Desc Main
                                                                                                                                                                                                                                      Document     Page 16 of 23
                                                                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                                                              William N. Miller & Shirley J. Miller
                                                                                                                                                      In re __________________________________________________,                                                                       15-57688-PMB
                                                                                                                                                                                                                                                                           Case No. _________________________________
                                                                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                    CODEBTOR
                                                                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND                                                                  AMOUNT




                                                                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                                                                MAILING ADDRESS
                                                                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
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                                                                                                                                                             AND ACCOUNT NUMBER
                                                                                                                                                               (See instructions above.)


                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Recovery Management Systems
                                                                                                                                                    Corp                                                                                                                                                                                  Notice Only
                                                                                                                                                    25 S.E. 2nd Avenue, Suite 1120
                                                                                                                                                    Miami, FL 33131-1605


                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Synchrony Bank
                                                                                                                                                    c/o Recovery Management Systems                                                                                                                                                       Notice Only
                                                                                                                                                    25 SE 2nd Avenue
                                                                                                                                                    Suite 1120
                                                                                                                                                    Miami, FL 33131-1605

                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    U. S. Attorney
                                                                                                                                                    600 Richard B. Russell Bldg                                                                                                                                                           Notice Only
                                                                                                                                                    75 Spring Street, SW
                                                                                                                                                    Atlanta GA 30303-3315


                                                                                                                                                    ACCOUNT NO.

                                                                                                                                                    Velocity Investments, LLC
                                                                                                                                                    c/o Corprational Service Co                                                                                                                                                           Notice Only
                                                                                                                                                    40 Technology Parkway #300
                                                                                                                                                    Norcross, GA 30092-2924


                                                                                                                                                     ACCOUNT NO.

                                                                                                                                                    World Finance Corporation
                                                                                                                                                    80 Powers Ferry Road                                                                                                                                                                  Notice Only
                                                                                                                                                    Suite A-08
                                                                                                                                                    Marietta, GA 30067-7582


                                                                                                                                                               5 of _____continuation
                                                                                                                                                    Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $                 0
                                                                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $                 0
                                                                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                            Case 15-57688-pmb                  Doc 35      Filed 10/01/15 Entered 10/01/15 15:23:29                                 Desc Main
                                                                                                                                                                                                          Document     Page 17 of 23
                                                                                                                                                          B6 Summary (Official Form 6 - Summary) (12/14)




                                                                                                                                                                                               United States Bankruptcy Court
                                                                                                                                                                                               Northern District of Georgia - Atlanta Division
                                                                                                                                                                      William N. Miller & Shirley J. Miller
                                                                                                                                                         In re                                                                                        Case No.       15-57688-PMB
                                                                                                                                                                                                          Debtor
                                                                                                                                                                                                                                                      Chapter        13

                                                                                                                                                                                                         SUMMARY OF SCHEDULES
Bankruptcy2015 ©1991-2015, New Hope Software, Inc., ver. 5.1.5-897 - Thursday, October 01, 2015, at 15:02:35 - 33078-301X-***** - PDF-XChange 4.0




                                                                                                                                                    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                                                                    I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                                                                    claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                                                                    Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                                                               AMOUNTS SCHEDULED
                                                                                                                                                                                                   ATTACHED
                                                                                                                                                      NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES             OTHER

                                                                                                                                                      A – Real Property
                                                                                                                                                                                                   NO                      0            $               0

                                                                                                                                                      B – Personal Property
                                                                                                                                                                                                   NO                      0            $               0

                                                                                                                                                      C – Property Claimed
                                                                                                                                                          as exempt                                NO                      0

                                                                                                                                                      D – Creditors Holding
                                                                                                                                                         Secured Claims                            YES                     2                                  $       119,315

                                                                                                                                                      E - Creditors Holding Unsecured
                                                                                                                                                          Priority Claims                          YES                     3                                  $                 0
                                                                                                                                                         (Total of Claims on Schedule E)
                                                                                                                                                      F - Creditors Holding Unsecured
                                                                                                                                                          Nonpriority Claims                       YES                     6                                  $                 0

                                                                                                                                                      G - Executory Contracts and
                                                                                                                                                          Unexpired Leases                         NO                      0

                                                                                                                                                      H - Codebtors
                                                                                                                                                                                                   NO                      0

                                                                                                                                                      I - Current Income of
                                                                                                                                                          Individual Debtor(s)                     NO                      0                                                          $       4,310

                                                                                                                                                      J - Current Expenditures of Individual
                                                                                                                                                          Debtors(s)                               NO                      0                                                          $           0


                                                                                                                                                                                           TOTAL                           11           $               0     $       119,315
                                                                                                                                                      Official
                                                                                                                                                       CaseForm   6 - Statistical Summary
                                                                                                                                                               15-57688-pmb           Doc(12/14)
                                                                                                                                                                                           35               Filed 10/01/15 Entered 10/01/15 15:23:29                     Desc Main
                                                                                                                                                                                          United States Bankruptcy Court
                                                                                                                                                                                                           Document     Page 18 of 23
                                                                                                                                                                                             Northern District of Georgia - Atlanta Division

                                                                                                                                                                 In re      William N. Miller & Shirley J. Miller                                 Case No.       15-57688-PMB
                                                                                                                                                                                                           Debtor
                                                                                                                                                                                                                                                  Chapter        13

                                                                                                                                                    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                                                                         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                                                                    §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                                                                          Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                                                                    information here.
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                                                                                                                                                    This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                                                                    Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                                                                       Type of Liability                                                         Amount
                                                                                                                                                       Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                                                                             0
                                                                                                                                                       Taxes and Certain Other Debts Owed to Governmental Units (from
                                                                                                                                                                                                                                 $
                                                                                                                                                       Schedule E)
                                                                                                                                                                                                                                             0
                                                                                                                                                       Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                                                                       Schedule E) (whether disputed or undisputed)
                                                                                                                                                                                                                                             0
                                                                                                                                                       Student Loan Obligations (from Schedule F)                                $
                                                                                                                                                                                                                                             0
                                                                                                                                                       Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                                                                       Obligations Not Reported on Schedule E                                                0
                                                                                                                                                       Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                                                                                       (from Schedule F)                                                                     0

                                                                                                                                                                                                                        TOTAL    $           0


                                                                                                                                                      State the Following:
                                                                                                                                                       Average Income (from Schedule I, Line 12)                                 $        4,310
                                                                                                                                                       Average Expenses (from Schedule J, Line 22)                               $
                                                                                                                                                                                                                                             0
                                                                                                                                                       Current Monthly Income (from Form 22A-1 Line 11; OR, Form
                                                                                                                                                       22B Line 14; OR, Form 22C-1 Line 14 )                                     $
                                                                                                                                                                                                                                             0



                                                                                                                                                      State the Following:
                                                                                                                                                       1. Total from Schedule D, “UNSECURED PORTION, IF                                           $
                                                                                                                                                       ANY” column                                                                                           62,080

                                                                                                                                                       2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                                                                       PRIORITY” column.                                                                     0

                                                                                                                                                       3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                          $
                                                                                                                                                       PRIORITY, IF ANY” column                                                                                  0

                                                                                                                                                       4. Total from Schedule F                                                                   $              0
                                                                                                                                                       5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                               $
                                                                                                                                                                                                                                                             62,080
                                                                                                                                                        Case 15-57688-pmb                                   Doc 35             Filed 10/01/15 Entered 10/01/15 15:23:29                                                                    Desc Main
                                                                                                                                                                                                                              Document     Page 19 of 23
                                                                                                                                                          B6 (Official Form 6 - Declaration) (12/07)

                                                                                                                                                                    William N. Miller & Shirley J. Miller
                                                                                                                                                          In re                                                                                                                                        Case No. 15-57688-PMB
                                                                                                                                                                                                 Debtor                                                                                                                  (If known)

                                                                                                                                                                                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                                                                         DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                                                                              13
                                                                                                                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                                                                          are true and correct to the best of my knowledge, information, and belief.



                                                                                                                                                           Date       10/1/2015                                                                                                 Signature:          /s/ William N. Miller
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                                                                                                                                                                                                                                                                                                                                   Debtor


                                                                                                                                                           Date       10/1/2015                                                                                                 Signature:          /s/ Shirley J. Miller
                                                                                                                                                                                                                                                                                                                          (Joint Debtor, if any)

                                                                                                                                                                                                                                                                                       [If joint case, both spouses must sign.]
                                                                                                                                                       -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                                                                         I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                                                                     110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                                                                     by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                                                                     accepting any fee from the debtor, as required by that section.


                                                                                                                                                     Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                                                                     of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                                                                      If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                                                                      who signs this document.




                                                                                                                                                      Address

                                                                                                                                                      X
                                                                                                                                                                           Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                                                                    Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                                                                    If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                                                                    A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                                                                    18 U.S.C. § 156.
                                                                                                                                                    -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                                                                         DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                                                                          I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                                                                    or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                                                                    in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                                                                    shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                                                                    Date                                                                                                                 Signature:


                                                                                                                                                                                                                                                                                          [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                                                                     [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                                                                     -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                                            Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
Case 15-57688-pmb         Doc 35    Filed 10/01/15 Entered 10/01/15 15:23:29              Desc Main
                                   Document     Page 20 of 23


                                 CERTIFICATE OF SERVICE

        This is to certify that I have this day served all parties in the foregoing matter with a copy
of the foregoing Debtors’ Amendment to Chapter 13 Schedules, by depositing in the United
States Mail, a copy of same upon:

                                     (p)internal Revenue Service
                                   Centralized Insolvency Operations
                                             Po Box 7346
                                     Philadelphia Pa 19101-7346

                                             Capital One
                                           P.O. Box 85619
                                       Richmond, Va 23285-5619

                                                Cavalry
                                             P.O. Box 520
                                          Valhalla, Ny, 10595

                                          Cavalry Spv I, Llc
                                       500 Summit Lake Drive
                                                Ste 400
                                       Valhalla, Ny 10595-1340

                                            Citi Financial
                                         2099 Pleasant Hill Rd
                                        Duluth, Ga 30096-4627

                                      Citifinancial Servicing Llc
                                             P.O. Box 6043
                                      Sioux Falls, Sd 57117-6043

                                          Emily Shingler, Esq
                                          Asst. U.S. Attorney
                                        600 Richard Russel Bldg
                                            75 Spring Street
                                        Atlanta, Ga 30303-3315

                                           Enhance Recovery
                                            P.O. Box 1259
                                          Oak, Pa 19456-1259

                                   First Family Financial Servicesga
                                    Ct Corp System 651 Lee Street
                                          1201 Peachtree Street
                                        Atlanta, Ga 30361-6329
Case 15-57688-pmb   Doc 35    Filed 10/01/15 Entered 10/01/15 15:23:29   Desc Main
                             Document     Page 21 of 23



                                    Freeman Finance
                                     651 Lee Street
                                 Atlanta, Ga 30310-1937

                                     Freeman Finance
                                    900 Thornton Road
                              Lithia Springs, Ga 30122-2641

                               Freeman Finance Company
                                    651 Lee St. Sw
                                Atlanta, Ga 30310-1937

                               Freeman Finance Company
                                    900 Thornton Road
                                          Suite E
                              Lithia Springs, Ga 30122-2641

                             Fulton County Tax Commissioner
                                       141 Pryor St
                                  Atlanta, Ga 30303-3446

                               Georgia Department Of Rev
                             C/o Commissioner Mac Ginnitie
                                1800 Century Center Blvd
                                   Atlanta, Ga 30345

                             Georgia Department Of Revenue
                                    Bankruptcy Unit
                                    P.O. Box 161108
                                   Atlanta, Ga 30321

                                Internal Revenue Service
                                        Box 7346
                              Philadelphia, Pa 19101-7346

                                Internal Revenue Service
                                    Atlanta, Ga 39901

                                Juno Tax Receiables, Llc
                                1713 H’way 35 Suite 101
                                 Middletown, N.J. 07748
Case 15-57688-pmb   Doc 35    Filed 10/01/15 Entered 10/01/15 15:23:29   Desc Main
                             Document     Page 22 of 23


                                 Juno Tax Receiables, Llc
                                 C/o Business Filing, Inc
                                1201 Peachtree Street, Nw
                                 Atlanta, Ga 30361-3503

                                Juno Tax Receivables, Llc
                               C/o Clark Caskey, Llc Agent
                               17 Executive Park Dr #480
                                 Atlanta, Ga 30329-2222

                                         K&s Inc
                              C/o Sonia B. Watson Reg Agent
                                   114 Carpenter Drive
                                 Midway, Ga 31320-7315

                                  Leading Edge Recovery
                                 5440 N. Cumberland Ave
                                        Suite 300
                                  Chicago, Il 60656-1486

                                   Marvin J. Harkin, Esq
                             Office Of Fulton County Attorney
                               141 Pryor Street, Suite 4038
                                  Atlanta, Ga 30303-3468

                                   Midland Funding,
                              Assignee 1st North Amean Ba
                               C/o Corpration Service Co
                              40 Technology Parkway #300
                                Norcross, Ga 30092-2924

                                  One Main Financial
                                   5015 Floyd Road
                                Mableton, Ga 30126-1673

                             Portfolio Recovery Associates Llc
                              5015 Floyd Road Po Box 41067
                                  Norfolk Va 23541-1067

                             Portfolio Recovery Associates Llc
                                        Pob 41067
                                     Norfolk Va 23541
Case 15-57688-pmb       Doc 35    Filed 10/01/15 Entered 10/01/15 15:23:29          Desc Main
                                 Document     Page 23 of 23


                                      Premier Bankcard, Llc
                                 C O Jefferson Capital Systems Llc
                                           Po Box 7999
                                   Saint Cloud Mn 56302-7999

                                   Professional Service Bureau
                                 11110 Industrial Circle Nw, Ste B
                                           Po Box 331
                                       Elk River, Mn 55330

                               Recovery Management Systems Corp
                                 25 S.E. 2nd Avenue, Suite 1120
                                     Miami, Fl 33131-1605

                                        Synchrony Bank
                               C/o Recovery Management Systems
                                       25 Se 2nd Avenue
                                          Suite 1120
                                     Miami, Fl 33131-1605

                                         U. S. Attorney
                                   600 Richard B. Russell Bldg
                                      75 Spring Street, Sw
                                     Atlanta Ga 30303-3315

                                     Velocity Investments, Llc
                                    C/o Corprational Service Co
                                   40 Technology Parkway #300
                                     Norcross, Ga 30092-2924

                                         World Finance
                                      80 Powers Ferry Rd
                                     Marietta, Ga 30067-7582

                                    World Finance Corporation
                                     80 Powers Ferry Road
                                           Suite A-08
                                    Marietta, Ga 30067-7582

       This is to certify that I have this day served a copy of the Debtors’ Amendment to
Chapter 13 Schedules on the following, by agreement of the parties, Adam M. Goodman,
Standing Chapter 13 Trustee, was served via the ECF electronic mail/noticing system.

       This the 1st day of October, 2015           By:
                                                   _____/s/___________________
                                                   Michael R. Rethinger
